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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HUNT2016 OK 14Case Number: SCBD-6365Decided: 02/16/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 14, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
John Marshall Hunt, Respondent.




ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information and Plea, in which John Marshall Hunt entered a plea of guilty to one felony count of Driving Under the Influence of Alcohol in violation of 47 O.S.2011 § 11-902(A)(2), occurring on February 9, 2014. The OBA also forwarded a certified copy of the referral to Drug Court.

¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that John Marshall Hunt is immediately suspended from the practice of law. John Marshall Hunt is directed to show cause, if any, no later than February 29, 2016, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until March 11, 2016, to respond.

¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, John Marshall Hunt has until March 28, 2016, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until April 12, 2016, to respond.

¶4 DONE BY ORDER OF THE SUPREME COURT this 16th day of February, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 Ohio St. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
